                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN

 In re:
                                                      Chapter 7
 MOOSE M SCHEIB,
                                                      Case No. 21-42581
                    Debtor(s).




            NOTICE OF FIRST HOME LOAN PAYMENT POSTPONEMENT

               Please take notice that on April 7, 2021, upon request of the Debtor(s), or if

applicable Co-Debtor(s), BANK OF AMERICA, N.A. agreed to postpone the monthly payment

amount for the home loan ending in 6692 secured by property at 15 Bradford Ct Unit 27,

Dearborn, MI 48128 (the “Home Loan”) for one (1) month (the “First Postponement Period”).

The First Postponement Period starts with May 1, 2021 and will continue until May 31, 2021.

The postponed payment amounts may be added to the end of the term of the Home Loan and are

not being waived or forgiven. Additionally, interest will, to the extent permitted by law

(including any confirmed bankruptcy plan), continue to accrue during this time period. At the

end of the First Postponement Period, the regular payment schedule provided for under the

Home Loan (or if applicable the Debtor(s) confirmed bankruptcy plan) will resume without

further notice, and the First Postponement Period will terminate absent: (1) the Debtor(s), or if

applicable Co-Debtor(s), submission of a second payment postponement request through (i)

bankofamerica.com/coronavirus, (ii) Bank of America’s virtual assistant, Erica®, or (iii) Bank of

America’s mobile banking app; and (2) BANK OF AMERICA, N.A.’s subsequent agreement to

the second payment postponement request.

               If a second payment postponement request is not submitted, Bank of America,

N.A. will reach out to Debtor(s), or if applicable Co-Debtor(s), at the end of the First
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Postponement Period, to work out repayment options based on the Debtor(s)’, or if applicable

Co-Debtor(s)’, circumstances, including the potential option to add the postponed payments to

the end of Debtor(s) loan. Bank of America, N.A. will also work on this repayment plan, as

required, with the third party that currently owns or insures the Debtor(s)’ loan.

               Alternatively, if a second payment postponement request is submitted by

Debtor(s), or if applicable Co-Debtor(s), and agreed to by BANK OF AMERICA, N.A., it is

anticipated that Debtor(s), or if applicable Co-Debtor(s), will be advised as how a request to be

evaluated for available options, including long-term assistance options, can be made at

termination of the second payment postponement period.

               To the extent a payment is made on the Home Loan during the First

Postponement Period, the funds will be applied to the Home Loan according to the terms of the

Home Loan contract, but will not extend the First Postponement Period, and the acceptance of

such funds by BANK OF AMERICA, N.A. should not be construed as a waiver of BANK OF

AMERICA, N.A.’s rights under the Home Loan, applicable bankruptcy law, or applicable non-

bankruptcy law. BANK OF AMERICA, N.A. expects that, to the extent necessary, the Debtor(s)

will also promptly take any required actions with the Court to effectuate the terms of the

payment postponement described in this Notice.

               Please take further notice that if the Debtor(s), or if applicable Co-Debtor(s), pays

property taxes and insurance on their own under the terms of the Home Loan, the Debtor, or if

applicable Co-Debtor(s), should continue to pay those obligations when they come due or as

otherwise required by any applicable bankruptcy plan. If the amounts are not paid, BANK OF

AMERICA, N.A. may, in order to insure that its collateral is adequately protected, and subject to

any applicable bankruptcy plan, pay those obligations on the Debtor(s)’, or if applicable Co-



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Debtor(s)’, behalf and establish an escrow account for payments going forward. If this occurs,

BANK OF AMERICA, N.A. will notify the Debtor(s), or if applicable Co-Debtor(s), of the

change and file a payment change notice with this Court as required.

               If the Debtor(s), or if applicable Co-Debtor(s), pays property taxes and insurance

obligations through an escrow account established under the terms of the Home Loan, BANK

OF AMERICA, N.A. will continue to pay those obligations when they come due during the First

Postponement Period. Any shortage that may occur as a result of the payment postponement will

be captured in the next annual analysis. Debtor(s), or if applicable Co-Debtor(s), may continue

to make deposits to the escrow account during the First Postponement Period to prevent a

subsequent escrow shortage, but the Debtor(s), or if applicable Co-Debtor(s), is not obligated to

do so.

               Finally, please note that during the First Postponement Period the Debtor(s), or if

applicable Co-Debtor(s), monthly Home Loan statements may reflect the payment amounts

postponed as past due balances. To the extent that occurs, the Debtor(s), or if applicable Co-

Debtor(s), should disregard that portion of the Home Loan statement.

               Nothing under this Notice should be construed as a waiver of BANK OF

AMERICA, N.A.’s rights under the Home Loan, applicable bankruptcy law, or applicable

non-bankruptcy law.




                                      /s/ Elliott Myers             Date: April 09, 2021
                                      Elliott Myers
                                      Assistant Vice President
                                      Bank of America, N.A.




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